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 5   NELSON CHILIN
 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     NELSON CHILIN,                                   Case No.:
10
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
11                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
12                                                    PERSON IN VIOLATIONS OF
13                                                    1. AMERICANS WITH DISABILITIES
                                                      ACT, 42 U.S.C. §12131 et seq.;
14   SHOP N GO LIQUOR INC; and DOES 1
     to 10,                                           2. CALIFORNIA’S UNRUH CIVIL
15                                                    RIGHTS ACT;
                  Defendants.
16                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
17
                                                      4. CALIFORNIA HEALTH & SAFETY
18                                                    CODE;
19                                                    5. NEGLIGENCE
20
21
22         Plaintiff NELSON CHILIN (“Plaintiff”) complains of Defendants SHOP N GO
23   LIQUOR INC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
24                                             PARTIES
25         1.     Plaintiff is a California resident with a physical disability. Plaintiff is a
26   paraplegic and is substantially limited in his ability to walk. Plaintiff requires the use of a
27   wheelchair at all times when traveling in public.
28




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 1            2.   Defendants are, or were at the time of the incident, the real property owners,
 2   business operators, lessors and/or lessees of the real property for a liquor store
 3   (“Business”) located at or about 11636 Cedar Ave., Bloomington, California.
 4            3.   The true names and capacities, whether individual, corporate, associate or
 5   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7   Court to amend this Complaint when the true names and capacities have been
 8   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
 9   fictitiously named Defendants are responsible in some manner, and therefore, liable to
10   Plaintiff for the acts herein alleged.
11            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14   the things alleged herein was acting with the knowledge and consent of the other
15   Defendants and within the course and scope of such agency or employment relationship.
16            5.   Whenever and wherever reference is made in this Complaint to any act or
17   failure to act by a defendant or Defendants, such allegations and references shall also be
18   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19   and severally.
20                                 JURISDICTION AND VENUE
21            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23   seq.).
24            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25   arising from the same nucleus of operating facts, are also brought under California law,
26   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27   54, 54., 54.3 and 55.
28            8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2   property which is the subject of this action is located in this district, San Bernardino
 3   County, California, and that all actions complained of herein take place in this district.
 4                                     FACTUAL ALLEGATIONS
 5         10.    In or about February of 2025, Plaintiff went to the Business.
 6         11.    The Business is a liquor store business establishment, open to the public, and
 7   is a place of public accommodation that affects commerce through its operation.
 8   Defendants provide parking spaces for customers.
 9         12.    While attempting to enter the Business during each visit, Plaintiff personally
10   encountered a number of barriers that interfered with his ability to use and enjoy the
11   goods, services, privileges, and accommodations offered at the Business.
12         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13   included, but were not limited to, the following:
14                a.     Defendants failed to comply with the federal and state standards for
15                       the parking space designated for persons with disabilities. Defendants
16                       failed to post required signage such as, “Minimum Fine $250” and
17                       “Unauthorized Parking.”
18                b.     Defendants failed to maintain the parking space designated for
19                       persons with disabilities to comply with the federal and state
20                       standards. Defendants failed to maintain the mark on the space with
21                       the International Symbol of Accessibility, resulting in the paint
22                       becoming severely deteriorated, hindering visibility.
23                c.     Defendants failed to maintain the parking space designated for
24                       persons with disabilities to comply with the federal and state
25                       standards. Defendants failed to maintain the blue borderlines, blue
26                       hatched lines, and “NO PARKING” markings painted on the ground
27                       as required, resulting in the markings becoming severely deteriorated,
28                       hindering visibility.



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 1                d.     Defendants failed to comply with the federal and state standards for
 2                       the parking space designated for persons with disabilities. Defendants
 3                       failed to provide an access aisle with level surface slope, as there was
 4                       a permanent ramp installed within the boundaries of the accessible
 5                       aisle.
 6         14.    These barriers and conditions denied Plaintiff full and equal access to the
 7   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 8   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 9   his knowledge of these violations prevents him from returning until the barriers are
10   removed.
11         15.    Based on the violations, Plaintiff alleges, on information and belief, that
12   there are additional barriers to accessibility at the Business after further site inspection.
13   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
14   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
15         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
16   knew that particular barriers render the Business inaccessible, violate state and federal
17   law, and interfere with access for the physically disabled.
18         17.    At all relevant times, Defendants had and still have control and dominion
19   over the conditions at this location and had and still have the financial resources to
20   remove these barriers without much difficulty or expenses to make the Business
21   accessible to the physically disabled in compliance with ADDAG and Title 24
22   regulations. Defendants have not removed such barriers and have not modified the
23   Business to conform to accessibility regulations.
24                                      FIRST CAUSE OF ACTION
25          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
26         18.    Plaintiff incorporates by reference each of the allegations in all prior
27   paragraphs in this complaint.
28




                                               COMPLAINT - 4
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 1         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 2   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 3   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 4   public accommodation by any person who owns, leases, or leases to, or operates a place
 5   of public accommodation. See 42 U.S.C. § 12182(a).
 6         20.    Discrimination, inter alia, includes:
 7                a.    A failure to make reasonable modification in policies, practices, or
 8                      procedures, when such modifications are necessary to afford such
 9                      goods, services, facilities, privileges, advantages, or accommodations
10                      to individuals with disabilities, unless the entity can demonstrate that
11                      making such modifications would fundamentally alter the nature of
12                      such goods, services, facilities, privileges, advantages, or
13                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                b.    A failure to take such steps as may be necessary to ensure that no
15                      individual with a disability is excluded, denied services, segregated or
16                      otherwise treated differently than other individuals because of the
17                      absence of auxiliary aids and services, unless the entity can
18                      demonstrate that taking such steps would fundamentally alter the
19                      nature of the good, service, facility, privilege, advantage, or
20                      accommodation being offered or would result in an undue burden. 42
21                      U.S.C. § 12182(b)(2)(A)(iii).
22                c.    A failure to remove architectural barriers, and communication barriers
23                      that are structural in nature, in existing facilities, and transportation
24                      barriers in existing vehicles and rail passenger cars used by an
25                      establishment for transporting individuals (not including barriers that
26                      can only be removed through the retrofitting of vehicles or rail
27                      passenger cars by the installation of a hydraulic or other lift), where
28                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).



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 1                d.     A failure to make alterations in such a manner that, to the maximum
 2                       extent feasible, the altered portions of the facility are readily
 3                       accessible to and usable by individuals with disabilities, including
 4                       individuals who use wheelchairs or to ensure that, to the maximum
 5                       extent feasible, the path of travel to the altered area and the
 6                       bathrooms, telephones, and drinking fountains serving the altered
 7                       area, are readily accessible to and usable by individuals with
 8                       disabilities where such alterations to the path or travel or the
 9                       bathrooms, telephones, and drinking fountains serving the altered area
10                       are not disproportionate to the overall alterations in terms of cost and
11                       scope. 42 U.S.C. § 12183(a)(2).
12         21.    Where parking spaces are provided, accessible parking spaces shall be
13   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
14   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
15   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
16   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
17   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
18         22.    Under the ADA, the method and color of marking are to be addressed by
19   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
20   Building Code (“CBC”), the parking space identification signs shall include the
21   International Symbol of Accessibility. Parking identification signs shall be reflectorized
22   with a minimum area of 70 square inches. Additional language or an additional sign
23   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
24   parking space identification sign shall be permanently posted immediately adjacent and
25   visible from each parking space, shall be located with its centerline a maximum of 12
26   inches from the centerline of the parking space and may be posted on a wall at the
27   interior end of the parking space. See CBC § 11B-502.6, et seq.
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 1         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 2   each entrance to an off-street parking facility or immediately adjacent to on-site
 3   accessible parking and visible from each parking space. The additional sign shall not be
 4   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 5   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 6   designated accessible spaces not displaying distinguishing placards or special license
 7   plates issued for persons with disabilities will be towed away at the owner’s expense…”
 8   See CBC § 11B-502.8, et seq.
 9         24.    Here, Defendants failed to provide the sign stating, “Minimum Fine $250”.
10   Moreover, Defendants failed to provide the additional sign with the specific language
11   stating “Unauthorized vehicles parked in designated accessible spaces not displaying
12   distinguishing placards or special license plates issued for persons with disabilities will
13   be towed away at the owner’s expense…”
14         25.    For the parking spaces, access aisles shall be marked with a blue painted
15   borderline around their perimeter. The area within the blue borderlines shall be marked
16   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
17   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
18   be painted on the surface within each access aisle in white letters a minimum of 12 inches
19   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
20   11B-502.3.3.
21         26.    Here, Defendants failed to provide a proper access aisle as the “NO
22   PARKING” markings, blue borderlines, and blue hatched lines painted on the parking
23   surface were poorly maintained, resulting in the markings becoming severely
24   deteriorated, hindering visibility.
25         27.    The surface of each accessible car and van space shall have surface
26   identification complying with either of the following options: The outline of a profile
27   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
28   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum



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 1   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 2   length of the parking space and its lower side or corner aligned with the end of the
 3   parking space length or by outlining or painting the parking space in blue and outlining
 4   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 5   occupant. See CBC § 11B-502.6.4, et seq.
 6         28.      Here, Defendants failed to maintain the International Symbol of
 7   Accessibility painted on the surface as required, resulting in the markings becoming
 8   severely deteriorated, hindering visibility.
 9         29.      Under the 1991 Standards, parking spaces and access aisles must be level
10   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
11   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
12   shall be part of an accessible route to the building or facility entrance and shall comply
13   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
14   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
15   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
16   directions. 1991 Standards § 4.6.3.
17         30.      Here, the access aisle is not level with the parking spaces, as there was a
18   permanent ramp installed within the boundaries of the accessible aisle. Under the 2010
19   Standards, access aisles shall be at the same level as the parking spaces they serve.
20   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
21   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
22   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
23         31.      A public accommodation shall maintain in operable working condition those
24   features of facilities and equipment that are required to be readily accessible to and usable
25   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
26         32.      By failing to maintain the facility to be readily accessible and usable by
27   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
28   regulations.



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 1         33.    The Business has denied and continues to deny full and equal access to
 2   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 3   discriminated against due to the lack of accessible facilities, and therefore, seeks
 4   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 5   by individuals with disabilities.
 6                                 SECOND CAUSE OF ACTION
 7                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 8         34.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         35.    California Civil Code § 51 states, “All persons within the jurisdiction of this
11   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
12   national origin, disability, medical condition, genetic information, marital status, sexual
13   orientation, citizenship, primary language, or immigration status are entitled to the full
14   and equal accommodations, advantages, facilities, privileges, or services in all business
15   establishments of every kind whatsoever.”
16         36.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
17   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
18   for each and every offense for the actual damages, and any amount that may be
19   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
20   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
21   attorney’s fees that may be determined by the court in addition thereto, suffered by any
22   person denied the rights provided in Section 51, 51.5, or 51.6.
23         37.    California Civil Code § 51(f) specifies, “a violation of the right of any
24   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
25   shall also constitute a violation of this section.”
26         38.    The actions and omissions of Defendants alleged herein constitute a denial
27   of full and equal accommodation, advantages, facilities, privileges, or services by
28   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.



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 1   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 2   51 and 52.
 3         39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 4   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 5   damages as specified in California Civil Code §55.56(a)-(c).
 6                                 THIRD CAUSE OF ACTION
 7                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 8         40.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
11   entitled to full and equal access, as other members of the general public, to
12   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
13   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
14   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
15   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
16   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
17   places of public accommodations, amusement, or resort, and other places in which the
18   general public is invited, subject only to the conditions and limitations established by
19   law, or state or federal regulation, and applicable alike to all persons.
20         42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
21   corporation who denies or interferes with admittance to or enjoyment of public facilities
22   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
23   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
24   the actual damages, and any amount as may be determined by a jury, or a court sitting
25   without a jury, up to a maximum of three times the amount of actual damages but in no
26   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
27   determined by the court in addition thereto, suffered by any person denied the rights
28   provided in Section 54, 54.1, and 54.2.



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 1         43.    California Civil Code § 54(d) specifies, “a violation of the right of an
 2   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 3   constitute a violation of this section, and nothing in this section shall be construed to limit
 4   the access of any person in violation of that act.
 5         44.    The actions and omissions of Defendants alleged herein constitute a denial
 6   of full and equal accommodation, advantages, and facilities by physically disabled
 7   persons within the meaning of California Civil Code § 54. Defendants have
 8   discriminated against Plaintiff in violation of California Civil Code § 54.
 9         45.    The violations of the California Disabled Persons Act caused Plaintiff to
10   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
11   statutory damages as specified in California Civil Code §55.56(a)-(c).
12                                FOURTH CAUSE OF ACTION
13                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
14         46.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         47.    Plaintiff and other similar physically disabled persons who require the use of
17   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
18   such facility is in compliance with the provisions of California Health & Safety Code §
19   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
20   provisions of California Health & Safety Code § 19955 et seq.
21         48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
22   that public accommodations or facilities constructed in this state with private funds
23   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
24   Title 1 of the Government Code. The code relating to such public accommodations also
25   require that “when sanitary facilities are made available for the public, clients, or
26   employees in these stations, centers, or buildings, they shall be made available for
27   persons with disabilities.
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 1          49.    Title II of the ADA holds as a “general rule” that no individual shall be
 2   discriminated against on the basis of disability in the full and equal enjoyment of goods
 3   (or use), services, facilities, privileges, and accommodations offered by any person who
 4   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 5   Further, each and every violation of the ADA also constitutes a separate and distinct
 6   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 7   award of damages and injunctive relief pursuant to California law, including but not
 8   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 9                                   FIFTH CAUSE OF ACTION
10                                         NEGLIGENCE
11          50.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13          51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
14   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
15   to the Plaintiff.
16          52.    Defendants breached their duty of care by violating the provisions of ADA,
17   Unruh Civil Rights Act and California Disabled Persons Act.
18          53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
19   has suffered damages.
20                                     PRAYER FOR RELIEF
21          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
22   Defendants as follows:
23          1.     For preliminary and permanent injunction directing Defendants to comply
24   with the Americans with Disability Act and the Unruh Civil Rights Act;
25          2.     Award of all appropriate damages, including but not limited to statutory
26   damages, general damages and treble damages in amounts, according to proof;
27          3.     Award of all reasonable restitution for Defendants’ unfair competition
28   practices;



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 1         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 2   action;
 3         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 4         6.     Such other and further relief as the Court deems just and proper.
 5                              DEMAND FOR TRIAL BY JURY
 6         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 7   demands a trial by jury on all issues so triable.
 8
 9   Dated: May 29, 2025                     SO. CAL. EQUAL ACCESS GROUP
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11
12                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
13                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 13
